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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,
                Plaintiffs,
                                                    Civil No. 1:14-cv-1611 (LO / JFA)
                 v.

  COX COMMUNICATIONS, INC, et al.,

                         Defendants.



                             COXS’ PROPOSED VERDICT FORM

        Defendants Cox Communications, Inc. and Coxcom, LLC (“Cox”), pursuant to Federal

 Rule of Civil Procedure 49(a), submit the following proposed verdict form. Cox reserves

 the right to supplement this proposed verdict form in the event that issues arise during trial that

 were not reasonably anticipated and for all other purposes contemplated by the Federal Rules of

 Civil Procedure and the Local Rules.




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                                           Verdict Form


         We the jury, in the above captioned action, answer the questions submitted to us as fol-

 lows:

 Question 1: Contributory Infringement:

         Did BMG prove by a preponderance of the evidence that Cox is liable for contributory

         infringement of BMG copyrighted works?

 Answer:        Yes _______ No_______

 If you answered yes to Question 1, you should proceed to Questions 2 and 3.



 Question 2: Willfulness:

         Did BMG prove by a preponderance of the evidence that Cox’s conduct was willful?

 Answer:        Yes _______ No_______



 Question 3: Damages:

         What is the total amount of statutory damages that you award to BMG?

 Amount:        $___________________ Please sign and return the verdict form




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 Dated: August 21, 2018

                                               Respectfully submitted,

                                               /s/ Thomas M. Buchanan
                                               Thomas M. Buchanan (VSB No. 21530)
                                               Steffen N. Johnson (pro hac vice)
                                               WINSTON & STRAWN LLP
                                               1700 K Street, NW
                                               Washington, DC 20006-3817
                                               Tel: (202) 282-5787
                                               Fax: (202) 282-5100
                                               Email: tbuchana@winston.com
                                               Email: sjohnson@winston.com

                                               Attorney for Cox Communications, Inc.
                                               and CoxCom, LLC

 Of Counsel for Defendants

 Michael S. Elkin (pro hac vice)
 Thomas Patrick Lane (pro hac vice)
 Seth E. Spitzer (pro hac vice)
 WINSTON & STRAWN LLP
 200 Park Avenue
 New York, NY 10166
 (212) 294-6700
 Email: melkin@winston.com
 Email: tlane@winston.com
 Email: sspitzer@winston.com

 Jennifer A. Golinveaux (pro hac vice)
 Winston & Strawn LLP
 101 California Street
 San Francisco, CA 94111
 (415) 591-1000
 Email: jgolinveaux@winston.com

 Michael L. Brody (pro hac vice)
 WINSTON & STRAWN LLP
 35 W. Wacker Drive
 Chicago, IL 60601
 (312) 558-5600
 Email: mbrody@winston.com




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 21, 2018, a copy of the foregoing Defendants’ Proposed

 Verdict Form was filed electronically with the Clerk of Court using the ECF system which will

 send notifications to ECF participants.



                                                    /s/ Thomas M. Buchanan
                                                    Thomas M. Buchanan (VSB No. 21530)
                                                    1700 K Street, NW
                                                    Washington, DC 20006-3817
                                                    Tel: (202) 282-5787
                                                    Fax: (202) 282-5100
                                                    Email: tbuchana@winston.com

                                                    Attorney for Defendants Cox Communica-
                                                    tions, Inc. and CoxCom, LLC




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